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                                        Certificate Number: 06531-CO-DE-031256155
                                        Bankruptcy Case Number: 13-30277


                                                       06531-CO-DE-031256155




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on June 29, 2018, at 3:50 o'clock PM CDT, Matthew Dolloff
 completed a course on personal financial management given by internet by Allen
 Credit and Debt Counseling Agency, a provider approved pursuant to 11 U.S.C. §
 111 to provide an instructional course concerning personal financial management
 in the District of Colorado.




 Date:   June 29, 2018                  By:       /s/Stephanie Kjetland


                                        Name: Stephanie Kjetland


                                        Title:    Credit Counselor
